    Case 2:23-cv-00419-JRG Document 14 Filed 11/20/23 Page 1 of 2 PageID #: 163




                            THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,
              Plaintiff,
       v.                                                CIVIL ACTION NO. 2:23-cv-419

VALVE CORPORATION,
GEARBOX SOFTWARE, L.L.C.,                                JURY TRIAL DEMANDED

              Defendants.



            UNOPPOSED MOTION FOR EXTENSION OF TIME FOR PLAINTIFF
                TO RESPOND TO DEFENDANT’S MOTION TO DISMISS

        Plaintiff Symbology Innovations, LLC (“Plaintiff”) respectfully submits this Motion for a 14-

 day Extension of Time to Respond to Valve Corporation’s (“Defendant”) Motion to Dismiss for

 Improper Venue, filed at Docket 11.

        Plaintiff’s Response is currently due November 20, 2023.

       Counsel for Plaintiff has conferred with counsel for Defendant, and have agreed to extend the

deadline for Plaintiff to respond to the Motion by 14 days. The proposed deadline would be December 4,

2023. The present request is not offered for the purpose of delay or advantage.
    Case 2:23-cv-00419-JRG Document 14 Filed 11/20/23 Page 2 of 2 PageID #: 164




 Dated: November 20, 2023                          Respectfully Submitted,

                                                   /s/ Randall Garteiser
                                                   Randall Garteiser
                                                     Texas Bar No. 24038912
                                                     rgarteiser@ghiplaw.com
                                                   GARTEISER HONEA, PLLC
                                                   119 W. Ferguson Street
                                                   Tyler, Texas 75702
                                                   Telephone: (903) 705-7420
                                                   COUNSEL FOR PLAINTIFF




                               CERTIFICATE OF CONFERENCE

       The undersigned attorney represents and confirms that a conference was conducted with

opposing counsel prior to filing this Motion, and counsel indicated its agreement with the relief

requested herein.

                                                   /s/ Randall Garteiser
                                                   Randall Garteiser


                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above document has been

served to all counsel of record who are deemed to have consented to electronic service via the Court’s

CM/ECF system on.

                                                   /s/ Randall Garteiser
                                                   Randall Garteiser
